     6:08-cr-00025-FHS    Document 662       Filed in ED/OK on 09/27/11       Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,


                     Plaintiff,

v.                                                 Case No. CR-08-025-FHS

JOHNNY EDWARD SMITH, aka “Tick,”
TERESA LOU MARTIN, aka “Coo,” and
MILTON TRAVIS WARRIOR,

                     Defendants.

                   AMENDED FINAL ORDER OF FORFEITURE

        WHEREAS, on March 30, 2009, March 31, 2009, and June 29, 2010, respectively,

this Court entered a Preliminary Order of Forfeiture pursuant to the provisions of 21 U.S.C.

§ 853, as adopted by 18 U.S.C. § 982(b)(1), based upon the guilty plea by Defendants Johnny

Edward Smith, aka Tick, Teresa Lou Martin, aka Coo, and Milton Travis Warrior, the Court's

finding of Defendants’ guilt, Defendants interests in the property alleged to be subject to

forfeiture in Count Twenty-Eight of the Indictment.

        AND WHEREAS, the United States caused to be posted on an official government

internet site (www.forfeiture.gov) for at least 30 consecutive days, beginning on

September 4, 2009, as required by Fed. R. Crim. P. 32.2(b)(6)(C) and Rule G(4)(a)(iv)(C)

of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

notice of this forfeiture and of the intent of the United States to dispose of the property in

accordance with the law and as specified in the Preliminary Orders, and further notifying all
     6:08-cr-00025-FHS     Document 662        Filed in ED/OK on 09/27/11       Page 2 of 3




third parties of their right to petition the Court within thirty (30) days for a hearing to

adjudicate the validity of their alleged legal interest in the property.

        AND WHEREAS, it appears from the record that no claims, contested or otherwise,

have been filed on the directly forfeitable property.

        AND WHEREAS, on September 22, 2011, the United States files a Motion to Amend

the Final Order of Forfeiture excluding the real property:

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that:

        1.    The right, title and interest to all of the hereinafter described property, whether

real, personal and/or mixed, of Johnny Edward Smith, Teresa Lou Martin and Milton Travis

Warrior, is hereby condemned, forfeited and vested in the United States of America, and

shall be disposed of according to law:

A.      Money Judgment:

        A sum of money equal to $4,000,000 (four million dollars) in United States currency,
        representing the amount of proceeds obtained as a result of the offenses alleged in
        Count One.

B.      Firearms

        1.    a MAADI CO., 7.62 rifle, serial number CW 15319;
        2.    a Savage Arms, .410 shotgun, serial number A850729; and
        3.    a HI-POINT, 45 caliber pistol, serial number 429852.

        2.     Any and all forfeited funds, including but not limited to currency, currency

equivalents and certificates of deposit, as well as any income derived as a result of the United

States Department of Justice management of any property forfeited herein, and the proceeds

from the sale of any forfeited property, after the payment of costs and expenses incurred in

                                               2
  6:08-cr-00025-FHS       Document 662       Filed in ED/OK on 09/27/11      Page 3 of 3




connection with the forfeiture, sale and disposition of the forfeited property, shall be

deposited forthwith by the United States Department of Justice into the Department of Justice

Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c) and 21 U.S.C. § 881(e).

       SO ORDERED this 27th day of September, 2011.




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